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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
______________________________________________________________________

ANDREA N. SMITH, Personal Representative
of the Estate of ANGELA H. PURNELL and
TIFFANY S. GAILES, Personal Representative
of the Estate of PAUL RAVEN PURNELL,

      Plaintiffs,

v.                                                   Case No.:
                                                     JURY DEMANDED
HANNIGAN FAIRING CO., LTD.,
Operating under the assumed name of
HANNIGAN MOTOR SPORTS and
DODD SALES, LLC,

     Defendants.
______________________________________________________________________

                              COMPLAINT
______________________________________________________________________

      COMES the Plaintiffs, ANDREA N. SMITH, Personal Representative of the

Estate of ANGELA H. PURNELL and TIFFANY S. GAILES, Personal Representative of

the Estate of PAUL RAVEN PURNELL (hereinafter “Plaintiffs”), and sues the

Defendants, HANNIGAN FAIRING CO., LTD., Operating under the assumed name of

HANNIGAN MOTOR SPORTS (hereinafter “Hannigan”) and DODD SALES, LLC

(hereinafter "Dodd”), and for cause of action say:

      1.      This action is brought pursuant to 28 U.S.C.S. §1332 as the amount in

controversary, exclusive of the interest and court costs, exceeds Seventy-Five

Thousand ($75,000.00) Dollars and the parties are citizens of different states. The

deceased, ANGELA H. PURNELL and her husband, PAUL RAVEN PURNELL, were

citizens of Memphis, Shelby County, Tennessee, and the Defendants, HANNIGAN, a
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domestic corporation organized and existing under the laws of the state of Kentucky

and DODD, is a domestic limited liability company organized, existing and operating in

the state of Alabama.

      2.     The Plaintiff, ANDREA N. SMITH, is the Personal Representative of the

Estate of ANGELA H. PURNELL, having been appointed by order of the Probate Court

of Shelby County, Tennessee (Docket No. PR 21265), on February 9, 2022.

      3.     The Plaintiff, TIFFANY S. GAILES, is the Personal Representative of the

Estate of PAUL RAVEN PURNELL, having been appointed on February 14, 2022, by

the Probate Court of Shelby County, Tennessee (Docket No. PR 021511).

      4.     The Defendant, HANNIGAN FAIRING CO., LTD., Operating under the

assumed name of HANNIGAN MOTOR SPORTS, is a domestic corporation organized

and existing under the laws of the state of Kentucky. It may be served at the office of its

registered agent, DAVID ERNEST HANNIGAN, at 4044 Highway 641S, Murray,

Kentucky 42071.

      5.     The Defendant, DODD SALES, LLC, is a domestic limited liability

company organized and operating in the state of Alabama. It may be served with

process at the offices of its registered agent, STEVE DODD at 1355 11th Avenue,

Haleyville, Alabama 35565.

      6.     This action is brought by the Plaintiff, ANDREA N. SMITH, as the Personal

Representative of the Estate of her mother, ANGELA H. PURNELL, for the benefit of

herself and her brother, OLAN C. SMITH.

      7.     This action is also brought by the Plaintiff, TIFFANY S. GAILES, as the

Personal Representative of the Estate of her father, PAUL RAVEN PURNELL, for the
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benefit of herself and her brother, DARIUS PURNELL.

      8.     On or about May 3, 2021, the Purnells purchased a trike from the

Defendant, DODD. The trike was converted sometime prior to the date of sale from a

2008 Honda GL18 Goldwing Motorcycle (VIN 1HFSC47F38A711124) by DODD or

HANNIGAN from the use of a Hannigan trike kit, manufactured, assembled and/or

designed by the Defendant, HANNIGAN.

      9.     It is the Plaintiffs understanding that the HANNIGAN trike kits are installed

either by HANNIGAN or someone at DODD trained by HANNIGAN.

      10.    On September 25, 2021, at approximately 5:25 p.m., the deceased, PAUL

RAVEN PURNELL, an experienced motorcycle operator and driver’s education

instructor, was traveling north bound on US 129 Highway/Calderwood, in Knoxville,

Blount County, Tennessee, on the above-described trick with his wife, ANGELA H.

PURNELL, as a passenger.

      11.    The parties were traveling down hill on US 129 Highway/Calderwood and

started experiencing problems with their brakes and could stop as they were coming to

a curve. Unable to stop the trike in which they were riding, they were unable to make

the turn and ran off of the road down a steep embankment.

      12.    Mr. Purnell’s body was thrown or ejected from the trike, and he plummeted

down the embankment where he was later found dead. Mrs. Purnell remained in the

passenger seat and the trike struck a tree and her body was found, mangled in the seat

of the trike and she was also pronounced dead at the scene.

      13.    An eyewitness riding on a motorcycle behind the Purnells estimated that

they were traveling under 30 miles per hour in a 30 miles per hour speed zone.
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       14.    A friend of the Purnells’ and an eyewitness to the accident was traveling

on another motorcycle in front of the parties, had an open phone line with Mr. Purnell

right before the accident, and he indicated that Mr. Purnell complained about his

inability to stop or slow down due to a failure of his braking system. A preliminary

inspection of the trike indicated that the brakes are/were defective.

       15.    That the trike that the Purnells were riding was designed, manufactured

and assembled by the Defendants and marketed in this state and others around the

country through HANNIGAN’S authorized dealers and distributor, and accordingly,

avails themselves of the jurisdiction of the state of Tennessee, and County of Shelby.

       16.    That as a manufacturer, designer, assembler and seller of said trike, the

Defendants owed a duty of care to the Purnells and the public at large, to place on the

market a reasonably safe product, free from defects and said duty has been breached

by the Defendants in that the trike was negligently designed, manufactured, tested,

assembled and marketed.

       17.    The Plaintiffs would show that the subject trike was manufactured,

designed and assembled in such a way as to cause said trike’s brakes to malfunction,

thereby causing a risk of harm to users, consumers and bystanders.

       18.    That as manufacturer, designer, assembler and marketer, sold and

marketed said trike in a condition which was defective and unreasonably dangerous by

virtue of its design, manufacture, inadequate warning, and the failure to provide

adequate instructions relative to its use. The Plaintiffs rely upon the doctrine of strict

liability in tort as stated in the Restatement of Torts, 2d, Section 402A, and would show

that the defect relied upon in the cause existed when the trike left the control of the
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Defendants.

       19.    Plaintiffs would show how that the Defendants breached certain

warranties recognized under the law, and the Plaintiffs rely upon §§ 24-2-313, 47-2-314

and 47-2-315 of the Tenn. Code Annotated pertaining to express and implied warranties

applicable to the sale and purchase of said trike.

       20.    Plaintiffs would show that the Defendants failed to adequately test the

subject trike and consequently, failed to warn users and consumers of the possible

brake failure, placing the Purnells’ life at risk. The Defendants marketed said trike in

such a way as to induce customers to purchase said trike without providing adequate

and sufficient warning that said trike did possess a propensity to suddenly and without

warning experience brake failure.

       21.    Alternatively, the Defendants did perform some testing for purposes of

evaluating the trike’s prosperity for brake failure and failed to warn the general public,

owners and consumers of known risks of harm associated with the use of said trike.

       22.    The Plaintiff, ANDREA N. SMITH, as the Personal Representative of the

Estate of ANGELA H. PURNELL, seeks recovery for the benefit of herself and brother,

OLAN C. SMITH, for the wrongful death of their mother, ANGELA H. PURNELL, and

conscious pain and suffering prior to the death in accordance with the laws of

Tennessee, and would show that at the time of death, ANGELA H. PURNELL was able-

bodied and in generally good health, thereby capable of working and earning large

sums of income. Plaintiff further avers that ANGELA H. PURNELL died a tragic death

after falling down the embankment and striking a tree while in the passenger seat and

that her death was associated with pain and suffering.       One eyewitness heard her
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screaming as she was falling.

      23.      The Plaintiff, TIFFANY S. GAILES, as the Personal Representative of the

Estate of PAUL RAVEN PURNELL, seeks recovery for the benefit of herself and her

brother, DARIUS PURNELL, for the wrongful death of their father, PAUL RAVEN

PURNELL, and conscious pain and suffering prior to the death in accordance with the

laws of Tennessee, and would show that at the time of death, PAUL RAVEN PURNELL

was able-bodied and in generally good health, thereby capable of working and earning

large sums of income. Plaintiff further avers that PAUL RAVEN PURNELL died a tragic

death after being thrown from the trike and plummeting down the embankment and that

his death was associated with pain and suffering.

      24.    The Defendants made representations of material facts, as alleged herein,

concerning the character and quality of the trike sold by them and the representations

were of such a nature as to render the Defendants strictly liable for the injuries and

damages suffered by the Purnells. Defendants, acting by and through their agents,

engaged in a course of advertising, marketing and promotion of said trike, which

included express and implied misrepresentations of material facts concerning the

character and quality of the subject trike and the Purnells as the purchasers of the trike

relied upon the Defendants’ representation. These misrepresentations were made by

the Defendants’ advertising, marketing and promotional activities, the totality of which,

taken as a whole falsely represented that the trike was safe to operate.

      25.    All of the conduct by the Defendants described herein, proximately caused

damage to the Plaintiffs thus rendering the Defendants liable to the Plaintiffs under

common law and the doctrine expressed in the Restatement of Torts.
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       26.    Plaintiffs further allege       that   the   conduct   of   the   Defendants   in

manufacturing, designing, marketing and distributing the subject trike, was undertaken

willfully, wantonly and with conscious disregard for the consequences, thus constituting

grounds for punitive damages.

              WHEREFORE, Plaintiffs pray as follows:

       1.     That proper process issue to the Defendants requiring a response to this

Complaint within the time allowed by law.

       2.     That the Plaintiff, ANDREA N. SMITH, as the Personal Representative of

the Estate of ANGELA H. PURNELL, for the benefit of herself and brother, OLAN C.

SMITH, sues the Defendants in the sum of Twelve Million Five Thousand

($12,500,000.00) Dollars for the personal injury, damages, losses and wrongful death of

their mother, ANGELA H. PURNELL.

       3.     The Plaintiff, TIFFANY S. GAILES, as the Personal Representative of the

Estate of, PAUL RAVEN PURNELL, for the benefit of herself and her brother, DARIUS

PURNELL, sues the Defendants in the sum of Twelve Million Five Thousand

($12,500,000.00) Dollars for the personal injury, damages, losses and wrongful death of

their father, PAUL RAVEN PURNELL.

       4.     That based upon the above acts or omissions constituting willful and

wanton misconduct, Plaintiffs request exemplary or punitive damages in an appropriate

amount consistent with the net worth of the Defendants, and in such amount that the

jury, in its discretion, might determine appropriate.

       5.     For trial by jury.

       6.     For all costs of this action.
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    7.    For all other and further relief to which Plaintiffs may prove entitled.


                                       Respectfully Submitted,


                                       /s/ Michael Don Harrell
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